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 3
                                UNITED STATES DISTRICT COURT
 4
                                        DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,           )
                                         )
 8                     Plaintiff,        )                 Case No. 2:10-cr-280-KJD-PAL
                                         )
 9               vs.                     )                 ORDER MODIFYING BOND
                                         )
10   HUGO COUTELIN,                      )
                                         )
11                     Defendant.        )
     ____________________________________)
12
13          Due to a clerical error the condition regarding defendants travel restriction and location
14   monitoring was omitted from the Appearance Bond issued July 26, 2010.
15          IT IS HEREBY ORDERED that the following condition, previously ordered, be
16   incorporated into the Appearance Bond issued July 26, 2010: The defendants travel is restricted
17   to Clark County, NV, The State of New Mexico and The State of California for Court purposes.
18   The defendant is to submit to location monitoring. Global Positioning Satellite and if not
19   available Radio Frequency Monitoring.
20          DATED this 30th day of July, 2010.
21
22                                                         ___________________________________
                                                           GEORGE FOLEY, JR.
23                                                         United States Magistrate Judge
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